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                            UNITED STATES DISTRICT COURT
                            DISTRICT OF THE VIRGIN ISLANDS
                                 DIVISION OF ST. CROIX

    REGINALD BELL,

                     Plaintiff,
                                                               Civ. No. 18-13
         v.
                                                               ORDER
    STOP AND SHOP SUPERMARKET,

                     Defendant.

THOMPSON, U.S.D.J. 1

        For the reasons stated in this Court’s Opinion on this same day,

        IT IS, on this 16th day of October, 2020,

        ORDERED that the U.S. Magistrate Judge’s Report and Recommendation (ECF No. 19)

is ADOPTED; and it is further

        ORDERED that Plaintiff’s Motion to Amend the Complaint (ECF No. 14) is DENIED;

and it is further

        ORDERED that the Clerk of the Court shall serve a copy of this Order and the Court’s

accompanying Opinion upon Plaintiff Reginald Bell by certified mail, return receipt requested.



                                                            /s/ Anne E. Thompson
                                                            ANNE E. THOMPSON, U.S.D.J.




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  The Honorable Anne E. Thompson, United States District Judge for the District of New Jersey,
sitting by designation.


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